Case: 4:06-cr-00008-HEA   Doc. #: 61   Filed: 07/20/06   Page: 1 of 6 PageID #: 126
Case: 4:06-cr-00008-HEA   Doc. #: 61   Filed: 07/20/06   Page: 2 of 6 PageID #: 127
Case: 4:06-cr-00008-HEA   Doc. #: 61   Filed: 07/20/06   Page: 3 of 6 PageID #: 128
Case: 4:06-cr-00008-HEA   Doc. #: 61   Filed: 07/20/06   Page: 4 of 6 PageID #: 129
Case: 4:06-cr-00008-HEA   Doc. #: 61   Filed: 07/20/06   Page: 5 of 6 PageID #: 130
Case: 4:06-cr-00008-HEA   Doc. #: 61   Filed: 07/20/06   Page: 6 of 6 PageID #: 131
